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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION

JANE DOE 12, JANE DOE 13,                          §
JANE DOE 14, AND JANE DOE 15                       §
                                                   §
                         Plaintiffs,               §
                                                   §   Cause No. 6:17-cv-236-RP
v.                                                 §   JURY TRIAL DEMANDED
                                                   §
BAYLOR UNIVERSITY                                  §
                                                   §
                         Defendant.                §

            PLAINTIFFS’ UNOPPOSED MOTION FOR LEAVE TO AMEND

TO THE HONORABLE JUDGE OF SAID COURT:

       COME NOW, PLAINTIFFS JANE DOE 12, JANE DOE 13, and JANE DOE 14

(hereinafter collectively referred to as “Plaintiffs”) and file this their Unopposed Motion for Leave to

File First Amended Complaint in order to add a Plaintiff who has been victimized by Baylor

University’s malfeasance in handling sexual assaults. In support thereof, Plaintiffs would show the

honorable Court as follows:

                    I.         INTRODUCTION & BACKGROUND FACTS

1.     On September 1, 2017, Plaintiffs filed their Original Complaint against Defendant Baylor

University for violations of Title IX and state law breach of contract and negligence. On December

13, 2017 the Court entered a Protective Order (ECF 5) ordering Defendant to file an answer to

Plaintiffs’ Original Complaint 45 days after service of the Complaint containing the Plaintiffs’ true

names. Defendant was served with Plaintiffs’ Sealed Complaint on December 21, 2017. Plaintiffs’

claims arise from the extensive history of abuse and conscious behavior of disregard by the Defendant,

Baylor University and its failure to investigate and respond to student sexual assaults which increased

Plaintiffs’, and other students’, chances of being attacked, and created a hostile environment that

effectively denied Plaintiffs, and other female students, access to educational opportunities. Although
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still concealing the specifics, Baylor has generally admitted significant portions of the underlying facts

in published Findings of Fact from its Board of Regents. One more woman has now bravely come

forward to assert her rights.

2.      Plaintiffs seek leave of Court to amend their complaint to add an additional Jane Doe Plaintiff

who complains of similar behavior against Defendant.

                                    II.     LEGAL STANDARD

3.      Federal Rule of Civil Procedure 15(a)(2) states, in relevant part, that “a party may amend its

pleading only with the opposing party's written consent or the court's leave. The court should freely give

leave when justice so requires.” Fed. R. Civ. P. 15(a)(2)(emphasis added). The Fifth Circuit has held that

the language of Rule 15 "evinces a bias in favor of granting leave to amend." Lyn-Lea Travel Corp. v.

Am. Airlines, 283 F.2d 282, 286 (5th Cir. 2002), cert. denied, 123 S. Ct. 659 (2002)(quoting Chitimacha

Tribe of La. v. Harry L. Laws Co., Inc., 690 F.2d 1157, 1162 (5th Cir. 1983)). “The policy of the federal

rules is to permit liberal pleading and amendment, thus facilitating adjudication on the merits while

avoiding an excessive formalism.” Jamieson v. Shaw, 772 F.2d 1205, 1208 (5th Cir. 1985). As a result, a

court “must have a ‘substantial reason’ to deny a request for leave to amend.” Lyn-Lea, 283 F.2d at

286 (quoting Jamieson, 772 F.2d at 1208). The United States Supreme Court has long held that “In the

absence of any apparent or declared reason -- such as undue delay, bad faith or dilatory motive on the

part of the movant, repeated failure to cure deficiencies by amendments previously allowed, undue

prejudice to the opposing party by virtue of allowance of the amendment, futility of amendment, etc.

-- the leave sought should, as the rules require, be ‘freely given.’” Forman v. Davis, 371 U.S. 178 (1962).

See also Mayeaux v. Louisiana Health Serv. & Indem. Co., 376 F.3d 420, 427 (5th Cir. 2004)(“Stated

differently, district courts must entertain a presumption in favor of granting parties leave to amend.”).




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                                        III.    ARGUMENT

4.      The facts before this Court demonstrate that leave should be granted for Plaintiffs to file their

amended complaint. The litigation between the parties is at its inception—a scheduling order has not

been entered and an answer has not been filed. It is, therefore, without question that the addition of

the party is not untimely.

5.      Plaintiffs’ counsel has conferred with Baylor’s counsel on this motion and have been advised

that it is unopposed, subject to Baylor having until February 15, 2018, to file a responsive pleading.

6.      Moreover, in the proposed Amended Complaint attached, no allegations regarding Does 12-

14 have been modified, and none of the common allegations have been changed.

7.      Plaintiffs request leave of Court to file the attached Amended Original Complaint.

                                       IV.      CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that this Court grant them leave to

file the attached First Amended Original Complaint.

        Dated this 23rd day of January, 2018.

                                                Respectfully submitted,

                                                BRAZIL & DUNN, L.L.P.

                                                 /s/ Chad W. Dunn
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                                               ATTORNEYS FOR PLAINTIFFS




                              CERTIFICATE OF CONFERENCE
       I hereby certify that I conferred with opposing counsel on this Motion by e-mail. Counsel for
the Defendant is Unopposed.

                                                    /s/ Chad W. Dunn
                                                   Chad W. Dunn


                                  CERTIFICATE OF SERVICE

    This is to certify that a true and correct copy of the above and foregoing Motion has been sent via
the Court’s electronic filing system to counsel for Defendant on January 23, 2018.

                                                /s/ Chad W. Dunn
                                               Chad W. Dunn




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